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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                        IN THE UNITED STATES DISTRICT COURT                          December 21, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

ANGELA TENNYSON,                                §
                                                §
        Plaintiff,                              §
                                                §
v.                                              §   CIVIL ACTION NO. 4:22-cv-00194
                                                §
THE BANK OF NEW YORK MELLON, et.                §
~                                               §
                                                §
        Defendants.                             §
                                                §
                                                §


                                             ORDER

       Pending before the Court is Defendants The Bank of New York Mellon ("BONY") and

Specialized Loan Servicing, LLC ("SLS") (collectively, "Defendants") Motion to Dismiss or

Motion for Summary Judgment. (Doc. No. 13). Plaintiff Angela Tennyson ("Tennyson" or

"Plaintiff') responded in opposition (Doc. No. 17) and Defendants replied (Doc. No. 20). Having

considered the Motion and the applicable law, the Court hereby GRANTS Defendants' Motion

for Summary Judgment.

                                        I.     Background

       This case arises from the foreclosure of Plaintiffs home. In 2007, Plaintiffs husband Earl

Tennyson ("Mr. Tennyson") was approved for a mortgage loan and entered into a promissory note

("Note") for $104,000. Mr. Tennyson is the only named individual who executed the Note. In

addition to the Note, Mr. Tennyson also executed a Deed of Trust to secure repayment of the Note.

Presumably because Texas is a community property state, and Mr. Tennyson was married at the
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time he executed the Note, both Mr. Tennyson and his wife, Angela, executed the Deed of Trust.

The Note and Deed of Trust were later assigned to BONY and was serviced by SLS.

         In 2015, Mr. Tennyson passed away. (Doc. Nos. 13-5; 3 at 18). After her husband's death,

Plaintiff began falling behind on mortgage payments and defaulted. (Doc. No. 3 at 18). Plaintiff

alleges that when she tried to speak to a representative of Defendants regarding the delinquent

loan, Defendants' representatives informed her they could not speak to because she was not a

borrower and the loan was only under her husband's name. (Id. at 19). Plaintiff alleges, but

provides no evidence to support, that Defendants refused to speak to her regarding the loan and/or

refused to accept her payments for two years. (Id.). In 2020, the loan was in default. Plaintiff also

allegedly spoke to a representative at SLS, who informed her that she could fill out a form online

that would give her access to the loan account. (Id.) .

         Plaintiff alleges that she now faces the threat of foreclosure because Defendants prevented

her from accessing the loan account for several years. (Id.). Defendants, however, have already

allegedly obtained a final judgment from a state court permitting foreclosure on the property. 1

(Doc. Nos. 13-6, 13 at 4). Defendants contend that Plaintiff filed this lawsuit merely to delay or

stop the foreclosure sale from taking place. (Id.).

         Plaintiff originally filed this lawsuit in 434th Judicial District Court of Fort Bend County,

Texas alleging that Defendants committed common law fraud and violated the Real Estate

Settlement Procedures Act (RESPA). (Doc. Nos. 1, 3). Specifically, Plaintiff alleges that

Defendants committed fraud by telling Plaintiff that she did not have access to loan information

because she was not a borrower under the mortgage loan account and that they could not rectify

the issue, which caused her debt to increase and for her to lose her home. (Doc. No. 3 at 20).


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  Since it was not raised herein , the Court need not explore whether Plaintiff s claims were waived by not being raised
as compulsory counterclaims in this first lawsuit.

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Plaintiff also argues that Defendants violated §§ 2605(k)(l)(C) of RESPA by failing to timely

respond to a borrower's requests to correct errors relating to balances or paying off the loan,

avoiding foreclosure, and other servicer duties. (Id. at 21 ). Defendants removed the case to this

Court. (Doc. No. 1).

         Defendants then filed this Motion to Dismiss and/or Motion for Summary Judgment

contending that Plaintiffs fraud and RESP A claims fail as a matter of law and further requests

attorney's fees. 2 (Doc. No. 13). Plaintiff responded in opposition (Doc. No. 17) and Defendants

replied (Doc. No. 20).

                                              II.      Legal Standard

         Summary judgment is warranted "if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.

56(a). "The movant bears the burden of identifying those portions of the record it believes

demonstrate the absence of a genuine issue of material fact." Triple Tee Golf, Inc. v. Nike, Inc. ,

485 F.3d 253, 261 (5th Cir. 2007) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322- 25 (1986)).

         Once a movant submits a properly supported motion, the burden shifts to the non-movant

to show that the court should not grant the motion. Celotex, 477 U.S. at 321-25. The non-movant

then must provide specific facts showing that there is a genuine dispute. Id. at 324; Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). A dispute about a material fact



2 Defendants moved to di smiss all of Plaintiff s claims under both Rule 12(b)(6) and for summary judgment under
Rule 56. As an initial matter, the parties are advi sed that, Defendants have improperly combined motions, which is
expressly prohibited by this Court's rules . See Judge Hanen's Civil Procedures § 3E ("Counsel shall not combine two
different and unrelated pleadings . . . into the same electronically filed document."). Further, "All briefs and
memoranda oflaw must be concise, pertinent, and well organized. Briefs and legal memoranda shall be limited to 20
pages, unless permitted by this Court to exceed this limit. See Civil Forms for United States District Judge Andrew S.
Hanen , available at https://txsd-ecf.sso.dcn/doc 1/ 179141111794. Given that Defendants labe led their Motion as a
"Motion for Summary Judgment" on the docket and conclude each section of its separate arguments by requesting
this Court to grant summary judgment and Plaintiff acknowledged in her Response that she was responding to a
summary judgment motion, the Court has chosen to construe this as a Motion for Summary Judgment under Rule 56,
rather than 12(b)(6).

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is genuine if "the evidence is such that a reasonable jury could return a verdict for the nonmoving

party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The court must draw all

reasonable inferences in the light most favorable to the nonmoving party in deciding a summary

judgment motion. Id. at 255 . The key question on summary judgment is whether there is evidence

raising an issue of material fact upon which a hypothetical, reasonable factfinder could find in

favor of the nonmoving party. Id. at 248. It is the responsibility of the parties to specifically point

the Court to the pertinent evidence, and its location, in the record that the party thinks are relevant.

Malacara v. Garber, 353 F.3d 393 , 405 (5th Cir. 2003). It is not the duty of the Court to search

the record for evidence that might establish an issue of material fact. Id.

                                                               III.             Analysis

   A. Whether Plaintiff is a Borrower

         Since the issue at the heart of both Plaintiffs common law fraud and RESP A causes of

action is, in part, dependent on whether Plaintiff can show that she was a "borrower" on the

mortgage loan account, the Court will address this issue fust.

         Based on the exact wording of the Note, Mr. Tennyson is the sole signatory and the sole

person listed as a borrower. (Doc. No. 13-2). Plaintiff is not a signatory, nor is she mentioned,

named, or referenced in any manner in the Note. (Id.) . The signature line of the Note is reproduced

below:
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        Conversely, in the Deed of Trust, the definitions section of the docwnent lists "Earl A.

Tennyson, A Married Person," as a "Borrower," but that docwnent is signed by both Mr. Tennyson

and Plaintiff. (Doc. No. 13-3 at 1). The signature lines of the Deed of Trust label each signatory

as a "borrower." (Id. at 17).

       The relevant portion of the signature line section of the Deed of Trust is reproduced below:


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       Defendants contend that Mr. Tennyson is the only borrower on the mortgage loan account.

(Doc. No. 13). Specifically, Defendants cite to the mortgage loan application and Note. They argue

that because Mr. Tennyson individually applied for and was approved for the mortgage loan and

individually signed the Note, Mr. Tennyson is the only borrower on the loan. (Doc. Nos. 13-1 , 13-

2). Defendants also cite to the contents of the Deed of Trust. Although Plaintiff was a signatory on

the Deed of Trust, Defendants contend that Plaintiff only executed the Deed of Trust because

Texas is a community property state that requires married individuals- like Mr. Tennyson- to

execute the Deed of Trust with their spouse as a couple. (Doc. No. 13-3 at 1.).



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        Plaintiff does not attach any summary judgment evidence to her Response in opposition.

Instead, Plaintiff cites to Defendants' exhibits and relies on the Note, the Deed of Trust, and the

document assigning the loan to BONY. (Doc. Nos. 13-2, 13-3, 13-4). First, Plaintiff cites to

provision 8 of the Note, which states, "Any person who takes over these obligations is also

responsible." (Doc. No. 13-2 at 2). Plaintiff then cites to Mr. Tennyson' s death certificate, which

she argues shows that she sent notification of her husband's death to the Defendants and that after

his demise, she continued making payments under the Note. (Doc. No. 13-5). The presence of a

death certificate in Defendants' certainly indicates that they knew Mr. Tennyson was dead, but it

does not prove that Plaintiff sent the death certificate to Defendant or that she had made payments.

Plaintiff also relies upon the Deed of Trust, which she states lists her as a borrower twice. (Doc.

No. 13-3). Finally, she cites to documents that assigned BONY the Note and Deed of Trust, but

that document identifies both Plaintiff and Mr. Tennyson as "maker/grantor," not borrowers. (Doc.

No. 13-4).

       It is a general rule that separate instruments or contracts executed at the same time, for the

same purpose, and in the course of the same transaction are to be considered as one instrument and

construed together. Jones v. Kelley , 614 S.W.2d 95 , 98 (Tex. 1981). Specifically, a deed of trust is

construed along with the note it is intended to secure. Financial Freedom Sr. Funding Corp. v.

Horrocks , 294 S.W.3d 749, 753 (Tex. App.- Houston [14th Dist.] 2009, no pet.) (citing Robinson

v. Saxon Mortgage Servs., Inc., 240 S.W.3d 311 , 313 (Tex. App.- Austin 2008, no pet.). If there

are conflicting terms in a note and a deed of trust, the terms of the note control. Washington-

Jarmon v. Onewest Bank, FSB, 513 S.W.3d 103 , 109 (Tex. App.- Houston [14th Dist.] 2016, pet.

aff.). Further, regardless of "whether the homestead is the separate property of either spouse or




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community property, neither spouse may sell, convey, or encumber the homestead without the

joinder of the other spouse." Tex. Fam. Code. Ann. § 5.001 (West 2006).

       Texas courts have consistently held that when a note and deed of trust conflict, the note

controls. See Washington-Jarmon, 513 S.W.3d 103 ; Pentico v. Mad-Wayler, Inc., 964 S.W.3d 103,

108-09 (Tex. App.- Corpus Christi 1998, pet. denied) (citing Odell v. Commerce Farm Credit

Co., 124 Tex. 538, 80 S.W.2d 295, 297 (1935)). In fact, the dispute in Washington-Jarmon v.

Onewest Bank, FSB is nearly identical to this dispute. In Washington-Jarmon, Jarmon was the only

borrower listed on the loan application, loan agreement, and the note. Washington-Jarmon, 513

S.W.3d 103 at 109. The deed of trust, however, identified Jarm0n and his spouse as a "Borrower"

after the identification of the trustors at the outset of the instrument and under the signature lines.

Id. The court held that since all loan documents, other than the deed of trust, expressly showed

Jarmon as a borrower, the references on the deed of trust to his spouse did not also make his spouse

a borrower. Id.

       The Court finds that under Texas law, Plaintiff was not a "borrower" in the loan agreement.

Defendants have presented evidence that Mr. Tennyson was the only borrower listed on the loan

application and Note. In the Deed of Trust, Plaintiff was not identified as a borrower at the outset

of the document-only Mr. Tennyson was . Plaintiff was only identified as a borrower on the

signature line of the Deed of Trust. For purposes of this Motion, the Court assumes that since

Texas is a common property state, both Mr. and Mrs. Tennyson were required to execute the Deed

of Trust. Since the mortgage loan application and Note list only Mr. Tennyson as the borrower but

the Deed of Trust lists both Plaintiff and Mr. Tennyson as borrowers, the two documents arguably

contain terms that are in conflict.




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       In this situation, Texas law holds that the language in the Note prevails. The court in

Washington-Jarmon was clear: the core principle in Texas is that the note controls over the deed

of trust when the two are in conflict. Here, the Note states that Mr. Tennyson is the sole borrower

on the mortgage loan. Thus, following Texas law as outlined in Washington-Jarmon, this Court

finds that the Note controls and Mr. Tennyson is the sole borrower, and that the references to

Plaintiff in the Deed of Trust do not make her a borrower.

       Although Plaintiff cites to the Note and her husband's death certificate as evidence that she

was the person who took over her husband' s obligations, sent notification of her husband's death,

and continued making payments under the Note, the Note and the death certificate do not raise an

issue of material fact on these claims. Without an affidavit or other summary judgment evidence

supporting Plaintiffs contentions, the existence of a provision in the Note stating that any person

who takes over the Note's obligations does not by itself prove that Plaintiff took over her husband ' s

obligations. Further, Mr. Tennyson's death certificate, on its own, does not prove Plaintiff sent it

to Defendants or that she made payments under the Note. The death certificate only proves that

Mr. Tennyson has passed away and the circumstances surrounding his death as stated on the death

certificate. Finally, although the documents that assigned BONY the Note and Deed of Trust

identify both Plaintiff and Mr. Tennyson as "maker/grantor," this does not make Plaintiff a

borrower on the Note. Based on the limited evidence provided in the Defendants' Motion that she

cites, Plaintiff has failed to adequately raise a genuine issue of material fact as to whether she is a

borrower on the mortgage loan. Thus, in the absence of sufficient evidence raising an issue of

material fact as to whether she is a borrower, the Court finds that Plaintiff is not a borrower on the

mortgage loan account.




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    B. Defendants Did Not Make Material and False Representations to Plaintiff

         Defendants argue that Plaintiff does not have any summary judgment evidence that

suggests Defendants committed fraud. (Doc. No. 13 at 6). 3 Specifically, Defendants argue that

there is no evidence suggesting that they made a material and false representation to Plaintiff when

they told her she did not have access to the loan account. (Doc. No. 13 at 11 ). Defendants contend

that they truthfully informed Plaintiff they could not speak to her concerning the account because

she was not a borrower and thus could not have access to the loan details. Based upon that

contention, they conclude that there was no evidence of any false statements. (Id.). Defendants cite

to the original Note as evidence that Plaintiff is not a borrower, which the Court considered above

when it found that Plaintiff could not be considered a borrower on the loan account.

         Plaintiff, again, offers no evidence to support that Defendants made allegedly fraudulent

statements to her. In Plaintiffs Response, she only makes conclusory allegations that she has

sufficiently pleaded her fraud allegations because Defendants' own documents showed "that they

knew Plaintiff had some sort of connection to the note. " According to Plaintiff, " [e]ven if

Defendant's representatives had only looked at the note itself, they were put on notice that Plaintiff

should have some sort of rights because of all the other executed documents and knowing she was

the widow of the borrower." (Doc. No. 17 at 6). All of these allegations, however, are unsupported

by any summary judgment evidence outside of the Note itself.



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  In their Motion, Defendants also move on the basis that (I) Plaintiff fails to pl ead her common law fraud claim with
the level of specificity required by Federal Rules of Civi l Procedure 9(b) and (2) any statements made between the
parties concerning loan modification are subj ect to the statute of frauds an d thus cannot be th e basis for an action . The
Court will not be addressing either of these arguments. Regardless of wheth er P laintiff has complied with Rule 9(b ),
Plaintiff did not attach or present any summary judgment evidence to support any element of a common law fraud
cause of action or to raise a genuine dispute of material fact. In the absence of additional evidence, affidavits or
citations to the record, th ere is no reason for the Court to address whether Plainti ff complied with Rule 9(b ). As for
Defendants' statute of frauds argument, Plaintiff states in her Response that she does not claim that any alleged
statements made regarding loan modification were fraud ulent. (Doc. No. 17 at 4). Th us, the Court will not be
addressing this argument from Defendants either.


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       In the absence of summary judgment evidence from Plaintiff on this issue and the fact that

this Court has already found that Plaintiff was not a borrower on the Note, the Court finds that

there is no genuine dispute of material fact. Further, there is no evidence about the content of any

conversation Plaintiff allegedly had with Defendants. Without evidence of their representations,

there cannot be evidence that they "misrepresented" anything. Moreover, even if there was

evidence of the primary statement underlying Plaintiffs claim, Defendants did not make material

and false representations to Plaintiff when they told her that they could not speak to her about the

account because she, factually , was not a borrower on the Note. Plaintiff does not provide any

summary judgment evidence to the contrary. Thus, Defendants' Motion for Summary Judgment

on this issue must be granted.

   C. RESP A Claims

       Plaintiff argues in her Petition that Defendants violated §§ 2605(k)(l )(C) of RESP A by

failing to timely respond to a borrower 's requests to correct errors relating to balances or paying

off the loan, avoiding foreclosure, and other servicer duties. In their Motion for Summary

Judgment, Defendants argue that since Plaintiff is not a borrower, she is precluded from bringing

a cause of action under RESP A. (Doc. No. 20 at 4). According to RESP A, a borrower can be a

confirmed successor in interest. A successor in interest becomes "confirmed" when a servicer has

confirmed the successor in interest' s identity and ownership interest in a property that secures a

mortgage loan. 12 C.F.R. § 1024.31.

       Defendants contend that SLS never confirmed Plaintiff as a successor in interest and

Plaintiff has offered no evidence that SLS confirmed her as a successor in interest. (Id. at 5).

Defendants cite to the declaration of Cynthia Wallace, Second Assistant President ofSLS, wherein




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she states that Mr. Tennyson was the only borrower and that the mortgage went into default when

the borrower failed to remit payments as they came due. (Doc. No. 13-10).

       In response, Plaintiff argues that "she is the owner of the property subject to the loan and

the widow of the borrower and the other owner." (Doc. No. 17 at 7). Specifically, Plaintiff cites to

two of Defendants' exhibits- her husband' s death certificate and the judgment allowing

foreclosure- as evidence. (Doc. Nos. 13-5, Doc. No. 13-6 at 2). Plaintiff first cites to her husband' s

death certificate that she contends she sent to the Defendants and therefore put them on notice

about her husband ' s death and her status as a successor in interest to the property. (Doc. No . 13-

5). Plaintiff then cites to a copy of the judgment allowing foreclosure that Defendants attached to

their Motion for Summary Judgment. (Doc. No. 13-6). This alleged foreclosure judgment order

states, in part, that " [Plaintiff] [was] immediately vested with all of Decedent's right, title and

interest in the Property." (Id. at 2). According to Plaintiff, because Defendants attached it to their

Motion, this is evidence that Defendants were on notice of her status as a borrower. (Doc. No. 13-

6). Outside of citing to these two exhibits of Defendants', Plaintiff does not refer this Court to any

additional summary judgment evidence to her Response to support these allegations.

       The Court does not find that Plaintiff has presented evidence to create a dispute of material

fact that she is a borrower or confirmed successor in interest under RESP A. Although Plaintiff

cites to her husband' s death certificate and the alleged foreclosure order, this does not prove that

SLS, at the time, had notice and confirmed her identity and ownership interest in the property.

Without an affidavit or other summary judgment evidence to support a contention of SLS ' s

confirmation of Plaintiffs identity and ownership interest, the evidence that Plaintiff relies upon

only proves what the document' s contents include- that based on the death certificate, her

husband, Earl Tennyson, passed away. Although Mr. Tennyson' s death certificate lists "Angela



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Brown" as his surviving spouse, there is no supporting summary judgment evidence to establish

that Angela Brown is the same person as Angela Tennyson. Further, the certificate does not suggest

that Plaintiff was a successor in interest.

        The alleged court order is even more problematic. The Defendants attached to their Motion

one page out of a multi-page document which purports to be part of the foreclosure judgment.

(Doc. No. 13-4 at 2). First, as noted, it is just part of a document that has not been proven-up in

any fashion. It has no style, no cause number, and no judge' s signature. It is hearsay at best, and

incomplete hearsay at that. That being the case, the Court is unwilling to consider that document

for any purpose. It cannot be relied upon by either the Defendants or the Plaintiff. Nevertheless,

even if the Court considered it as properly offered summary judgment evidence, it would not help

the Plaintiff because it does not raise an issue of material fact as to whether the Plaintiff was a

borrower or a confirmed successor in interest.

       Neither the death certificate nor the "judgment," taken on their own, or in combination,

suggests that Defendants had notice of Plaintiffs identity or ownership interest in the property,

nor does it raise a fact issue as to whether she was confirmed as a successor in interest. Moreover,

since Plaintiff has not presented any additional summary judgment evidence to support her

allegations, the Court finds that she has failed to raise a genuine dispute of material fact. Thus,

summary judgment must be granted in favor of Defendants and Plaintiffs RESP A claim must be

dismissed.

   D. Attorney's Fees

       Finally, based on the Deed of Trust that Plaintiff did sign, Defendants argue that they are

entitled to collect attorney' s fees totaling $11 ,055.54 from Plaintiff. (Doc. Nos. 13-3, 13-9).

Specifically, Defendants cite to Section 9 of the Deed of Trust, which provides that the lender may



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collect fees and expenses it incurs, including attorney ' s fees, when it is forced to protect its rights

to the property in question and forced to defend a lawsuit arising from disputes over the property.

(Id. at 6). Defendants also refer to the affidavit of Branch M. Sheppard, who swears to the amount

incurred in attorney ' s fees Defendants have incurred while defending this case. (Doc. No. 13-9).

In response, Plaintiff contends that she has asserted viable causes of action against Defendants,

that Defendants should not be entitled to attorney's fees, and that she also requests attorney ' s fees.

While she may have alleged valid causes of action, she has not provided any proof in support

thereof. Further, Plaintiff did not file a counter motion for fees nor does she attach any evidence

to support her contentions.

        The Fifth Circuit has held that similar language in loan documents like that of Section 9 of

the Deed of Trust entitles lenders to recover attorney ' s fees "reasonably and appropriately

incurred" when protecting its rights under a deed of trust. In re Velasquez, 660 F.3d 893, 899-900

(5th Cir. 2011). Here, there is an enforceable contract- the Deed of Trust- that permits the

recovery of attorney ' s fees. The Court finds that the attorney' s fees incurred by Defendants in the

course of this litigation have been reasonable and necessary. Thus, the Court orders Plaintiff to

reimburse Defendants for attorney's fees and costs totaling $11 ,055.54.




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                                          E. Conclusion

       For the foregoing reasons, the Court GRANTS Defendant's Motion to for Summary

Judgment. The Court also ORDERS Plaintiff to reimburse Defendants' attorney ' s fees of

$11 ,055.54. The case is hereby dismissed with prejudice.


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       Signed at Houston, Texas, this<-\ day of December, 2022.



                                                              ~l~
                                                            Andrew S. Hanen
                                                            United States District Judge




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